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                                                                         FILED IN CHAMBERS
                                                                            U.S.D.C. Atlanta


                                                                           DEC 102020
                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA                 JAM~ N. HATTEN, Clerk
                          ATLANTA DIVISION                           By: ~/J L-



   UNITED STATES OF AMERICA
                                              Criminal Information

   SANTWON ANTONIO DAVIS                      No. 1:20-CR-476


THE UNITED STATES ATTORNEY CHARGES THAT:

                           COUNT ONE Wire Fraud
                                          -


                              18 U.S.C. ~1343
   1. From on or about December 12, 2019, through on or about March 22, 2020,

in the Northern District of Georgia, the defendant, SANTWON ANTONIO DAVIS,

devised and intended to devise a scheme and artifice to defraud, and to obtain

money and property by means of materially false and fraudulent pretenses,

representations, and promises, and by the omission of material facts, knowing

and having reason to know that said pretenses, representations, and promises

were false and fraudulent when made and caused to be made and that said

omissions were and would be material.
                            The Scheme to Defraud

   Z At all times material to this Information, the defendant was employed by a

national company and worked in its facility located in the Northern District of

Georgia.

   3. The objective of the scheme was for the defendant to obtain funds from the

company.
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   4. To accomplish the unlawful objective of the scheme, the defendant

submitted false and fraudulent claims for benefits to the company.

   5. It was part of the scheme that in December 2019, the defendant

fraudulently claimed that his minor child, K.D., died in an automobile accident.

In reliance on the defendant’s false and fraudulent representations and in

~ccordance with the union contract, which provided for paid leave for the death

of a biological child, the company paid the defendant for forty hours of funeral

pay.

   6. It was part of the scheme that in March 2020, the defendant fraudulently

claimed that he had contracted COVID-19. In reliance on the defendant’s false

and fraudulent representations and in an attempt to protect its employees and

the public from the serious public health crisis, the company closed its facility on

March 23, 2020, and paid four employees who were required to quarantine

themselves because they had been in close contact with the defendant.

                             Execution of the Scheme

   7. To execute this scheme to defraud, the defendant caused the transmission

of interstate wire communications. On or about March 22, 2020, in the Northern

District of Georgia, for the purpose of executing and attempting to execute the

scheme and artifice to defraud described above, the defendant, SANTWON

ANTONIO DAVIS, did, with the intent to defraud, cause to be transmitted by

means of a wire communication in interstate and foreign commerce, certain

writings, signs, signals, pictures, and sounds, that is an email from the defendant



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to the company’s Plant Manager, with an attached image of a “work/school

excuse letter.”

   All in violation of Title 18, United States Code, Section 1343.


                           COUNT TWO Bank Fraud
                                              -


                               18 U.S.C. § 1344
   8. From on or about May 19, 2020, through on or about June 23, 2020, in the

Northern District of Georgia, the defendant, SANTWON ANTONIO DAVIS,

knowingly devised and intended to devise a scheme and artifice to defraud

CalCon Mutual Mortgage LLC, a financial institution, and to obtain and attempt

to obtain moneys, funds, credits, assets, securities, and other property owned by,

and under the custody and control of, that financial thstitution, by means of

materially false and fraudulent pretenses, representations, and promises, as well

as by omission of material facts.

                             The Scheme to Defraud

   9. The objective of the scheme was for the defendant to obtain funds from the

financial institution, specifically in the form of a mortgage for a property located

in the Northern District of Georgia.

   10. To accomplish the unlawful objective of the scheme, the defendant

executed a Uniform Residential Loan Application which included materially

false and fraudulent pretenses, representations, and promises, and also omitted

material facts. For example, the defendant listed a social security number not

assigned to him but to another individual whose identity was known to him,

misstated his employment history, and inflated his income.
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   11. It was part of the scheme that the defendant submitted documents

containing materially false and fraudulent pretenses, representations, and

promises, and also omitted material facts, during the underwriting process for

the mortgage loan. For example, the defendant submitted to the financial

thstitution fabricated paystubs with an inflated rate of pay from a company

which was no longer his employer and a fabricated bank account statement that

reflected the direct deposit of this inflated pay into his bank account.

                             Execution of the Scheme

   12. To execute this scheme to defraud, on or about May 19, 2020, the

defendant, SANTwON ANTOMO DAVIS, did, with the intent to defraud, execute a

Uniform Residential Loan Application, which included materially false and

fraudulent pretenses, representations, and promises, and also omitted material

facts, and did submit this application to CalCon Mutual Mortgage LLC, a

financial institution, from which the defendant intended to obtain and attempt to

obtain moneys, funds, credits, assets, securities, and other property owned by,

and under the custody and confrol of, that financial institution.

   All in violation of Title 18, United States Code, Section 1344.




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                                  Forfeiture Provision

   13. As a result of committing the wire fraud offense alleged in this

Information, in violation of Title 18, United States Code, Section 1343, and the

bank fraud offense alleged in this Information, in violation of Title 18, United

States Code, Section 1344, the defendant, SANTWON ANTONIO DAVIS, shall forfeit

to the United States all property, real and personal, which constitutes or is

derived from proceeds traceable to such offenses, pursuant to Title 18, United

States Code, Section 981(a)(1)(C), and Title 28, United States Code, Section

2461(c).

   14. If, as a result of any act or omission of defendant DAVIS, property subject

to forfeiture

           a. cannot be located upon the exercise of due diligence;

           b. has been transferred to, sold to, or deposited with, a third party;

           c. has been placed beyond the jurisdiction of the Court;

           d. has been substantially diminished in value; or

           e. has been commingled with other property, which cannot be divided

                without difficulty,

the United States intends, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 18, United States Code, Section 982(b), to seek

forfeiture of other property of the defendant up to the value of the forfeitable




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property described above.


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